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EXHIBIT A
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JHE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

 

(EASTERN DIVISION)

BANCO DO BRASIL, S.A. )
Plaintiff, )

) Civil Action No. 1:09-ey-11343
Vv. )
}
275 WASHINGTON STREET CORP., )
as itis the Trustee of the WASHINGTON  )
STREET REALTY TRUST IL, )
Defendant. )
)

 

AFFIDAVIT OF KATHLEEN A. SCOTT
IN SUPPORT OF BANCO DO BRASIL, S.A.°S MOTION FOR SUMMARY JUDGMENT

I, Kathleen A. Scott, having been duly sworn, hereby depose and state as follows:

1, T am counsel in the Financial Services Group at Arnold & Porter LLP,

2, [ have personal knowledge of the facts described herein, which I believe to be
true,

3, I have over twenty years of experience in bank regulatory matters.

4. {began my career at the United States Department of the Treasury, in the legal
division of a Treasury bureau and then in the Office of the Assistant General Counsel for
Enforcement, where | concentrated on financial enforcement matters such as anti-money
laundering statutes and regulations. At the Department of the Treasury, my responsibilities
included advising on policy positions, drafting regulations, and speaking to the industry on

compliance and enforcement issues.

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5. After working at the Department of the Treasury, I served as a senior staff
attorney at the New York State Banking Department, where I worked on, inter alia, corporate
and international banking matters.

6. Since October 1998, I have worked in private practice representing banking
clients with respect to, inter alia, the regulatory aspects of the establishment of new banking
organizations.

7. Trepresented Banco do Brasil, 8.A. (“Banco do Brasil”) in its attempt to obtain
regulatery approval to establish a new federal savings bank to be indirectly wholly owned by
Banco do Brasil which would be called “Banco do Brasil Federal Savings Bank” (“FSB”), The
FSB was to have five organizers (the “Organizers”), three of which worked in some capacity
for Banco do Brasil and two which were independent of Banco do Brasil (the Organizers and
Banco do Brasil referred to herein collectively as “Banco do Brasil”).

8. As part of the application process, Banco do Brasil sought regulatory approval to
maintain the principal office of the FSB in New York, New York, and to operate a branch of the
FSB at 227-275 Washington Street in Boston, Massachusetts.

9. Jn addition to the FSB branch in Boston, Banco do Brasil also sought regulatory
approval to operate additional FSB branches in New Jersey, Florida, and Connecticut.

10. There were three U.S. federal regulatory agencies involved in the application
process: the Board of Govemors of the Federal Reserve System (the “FRB”), the Office of
Thrift Supervision (the “OTS”) and the Federal Deposit Insurance Corporation (the “FDIC”),

ti. Pursuant to the International Banking Act, the FRB must approve Banco do

Brasil, anon-U.S. bank, to own a US. federal savings bank (the “FRB Application”).

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12. Pursuant to the Home Owners Loan Act, the OTS must approve the establishment
ofa federal savings bank and approve a proposed federal savings bank’s direct and indirect
control parties as savings and loan holding companies (the “OTS Application”),

13. Pursuant to the Federal Deposit Insurance Act, the PDIC must approve an
application for deposit insurance for a federal savings bank (the “FDIC Application,” and with
the FRB Application and the OTS Application, the “Applications”).

14. In 2007, Banco do Brasil began preparing to file applications to obtain regulatory
approval for the FSB.

15. On November 21, 2007, representatives from Banco do Brasil had a preliminary
meeting with OTS to discuss its application for regulatory approval. J was present at that
meeting.

16. On January 9, 2008, representatives from Banco do Brasil had a formal pre-
application meeting with the OTS and the FDIC to discuss the proposed OTS and FDIC

Applications. I was present at that meeting.

17. At that meeting, the OTS and the FDIC provided comments to Banco do Brasil

concerning the proposed OTS and FDIC Applications.

18. Banco do Brasil addressed the regulators’ comments in finalizing the OTS and

FDIC Applications in March of 2008.

19. Banco do Brasil filed the OTS Application on March 10, 2008, with the principal

office of the OTS in Washington, D.C.

20. Banco do Brasil filed the FDIC Application on March 10, 2008, with the FDIC

Regional Office in New York, New York.

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2i. Banco do Brasil filed the FRB application on March 20, 2008, with the FRB
through the Federal Reserve Bank of New York in New York, New York.

22. Beginning m April of 2008, on an ongoing basis, Banco do Brasil received and
answered numerous questions posed by OTS, FDIC, and FRB staff regarding the Applications.

23, In September of 2008, FDIC staff requested a meeting at the FDIC New York
Regional Office with Banco do Brasil to discuss the FDIC Application.

24, Atthe September 23, 2008, meeting with FDIC staff, which also was attended by
OTS staff, representatives from Banco do Brasil responded to numerous questions about the
FSB’s proposed business plan and products, and FDIC staff strongly encouraged Banco do
Brasil to withdraw the deposit surance application. I was present at that mecting.

25, By letter to the FDIC dated October 1, 2008, Banco do Brasil withdrew the FDIC
Application and indicated that it intended to file a new application.

26, On January 6, 2009, Banco do Brasil filed with the FDIC a new deposit insurance
application for the FSB with a revised business plan (the “2009 FDIC Application’).

27. Additionally, Banco do Brasil filed copies of the 2009 FDIC Application with the
FRB and OTS in January of 2009.

28. After repeated inquiries concerning the status of its application, on March 26,
2009, Banco do Brasil had a conference call with FDIC staff [ was present on that conference
call.

29, During the March 26, 2009, conference call, FDIC staff informed Banco do Brasil
that it was returning the deposit insurance application as incomplete and indicated that we

would shortly receive a letter explaining the reasons. When asked to comment generally on the

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reasons for the return of the application, FDIC staff again expressed concerns about the FSB’s

proposed business plan and products.

30. The FDIC later sent a letter dated April 2, 2009, formally notifying Banco do

Brasil that the application was being returned.

3}. Tworked intensively for over 18 months with many Banco do Brasil personne! to
obtain the required regulatory approvals for Banco do Brasil in order to open the FSB.
32, Inmy opinion, Banco do Brasil made every reasonable effort in diligently

working to obtain the required regulatory approvals in order to open the FSB.

fs
SIGNED UNDER THE PENALTIES OF PERJURY THIS 0 DAY OF OCTOBER, 2009.

tn (jul

KATHLEEN A. SCOTT

CERTIFICATE OF SERVICE

fy
i, Eric F. Eisenberg, hereby certify that on this BD day of October, 2009, this document filed
through the ECF system will be sent electronically to the registered participants as identified on
the Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-

registered participants.
Ce?

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